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 8
                                    UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       Cr. No. S- 11-458 GEB
12
                       Plaintiff,                    Proposed Order to Continue Sentence
13
            v.                                       (February 14,2014 before Judge Burrell)
14
     KADESTA HARRIS
15
                       Defendant.
16

17
     The parties stipulate the present sentencing date of November 15, 2013 be vacated and the case be
18
     continued to February 14, 2014 at 9:30 AM and respectfully request the Court so order.
19

20
     Dated November 13, 2013
21
        /s/ MICHAEL BECKWITH                                /S/ J TONEY
22       Michael Beckwith                                      J Toney
23   Assistant U.S. Attorney                               Attorney for Kadesta Harris
     SO ORDERED.
24
     Dated: November 14, 2013
25

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